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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 THE CENTER FOR INVESTIGATIVE                                        CIVIL ACTION
 REPORTING
                                                                     NO. 18-1839
                         v.

 SOUTHEASTERN PENNSYLVANIA
 TRANSPORTATION AUTHORITY

                                                             ORDER

          Following an unrecorded telephone conference with counsel this date, and it appearing

that Plaintiff has already served certain discovery requests on Defendant which Plaintiff may

assert is relevant on its intention to file a motion for preliminary injunction, it is hereby

ORDERED as follows:

          1.        Defendant is to serve its discovery, or a description of it, by close of business on

Monday, June 4, 2018,

          2.        Counsel shall confer concerning the proposed discovery of each side promptly

          3.        Counsel shall submit a joint, or if necessary, separate, letters to Chambers no later

than 4:00 p.m. on Wednesday, June 6, 2018 limited to two pages, double-spaced, summarizing

any discovery disputes

          4.        The Court will have a hearing in Courtroom 3A on Thursday, June 7, 2018 at 9:30

a.m. to resolve any discovery disputes, and set a date for a hearing.

                                                                        BY THE COURT:


Dated: June 1, 2018                                                     /s/ Michael M. Baylson
                                                                        MICHAEL M. BAYLSON, U.S.D.J.
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